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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA
                           WEST PALM BEACH DIVISION

                              CASE NO. 22-CV-81294-CANNON

  DONALD J. TRUMP,

        Plaintiff,

  v.

  UNITED STATES OF AMERICA,

        Defendant.
  ________________________________/

                        UNITED STATES’ NOTICE OF FILING

        The United States of America hereby files the Parties’ Joint Response to ECF 191,

  attached as Attachment A.

                                         Respectfully submitted,

                                         JOHN L. SMITH
                                         SPECIAL COUNSEL

                                         By: /s/____________________
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                                         Chief
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                                         Department of Justice

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                                         UNITED STATES ATTORNEY
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                               CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on December 1, 2022, I electronically filed the foregoing

  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing

  document is being served this day on all counsel of record via transmission of Notices of

  Electronic Filing generated by CM/ECF.




                                           /s/     Julie A. Edelstein
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